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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

M.A., on behalf of his minor children, H.R. and M.;

M.C, on behalf of her minor child, R.J.; W.D., on behalf

of his minor children, A. & J.; N.D., on behalf of h 6 CV 0 > 06 6
minor children, L., M. & P.; J. and E. E. on benait | }

of their minor children, A. & S.; J.J., on behalf of

her minor child, R.; L.V.G., on behalf of his four minor COMPLAINT
children; P.J., on behalf of his minor child, A.,

D. and R. J., on behalf of their minor children, S. & O.,;

K.K., on behalf of her minor children M. & G.; L.K., on

behalf of his minor child, L.; M.K. on behalf of his minor

child, A.; V.L., on behalf of her two minor children; V.M.

and A.M. on behalf of their minor child, I.; T. and M.M.,

n behalf of their minor children Y., N. &S.; K.M.M. and

W.M., on behalf of their minor children, S.; K. and L.;

K.M., on behalf of her minor children, R. & A.; J.O., on

behalf of her minor child, T.; M.P., on behalf of his minor

children, Tr. and Te.; L.P., on behalf of her minor child, M.;

M.R., on behalf of her minor children R. & E.; J.R., on

behalf of her minor child, C. and T.T., on behalf of his

minor child, M., Y.T., on behalf of her minor child, Y.,

Plaintiffs,
against
ROCKLAND COUNTY DEPARTMENT OF HEALTH & DR.
PATRICIA SCHNABEL RUPPERT, COMMISSIONER, sued

in her official and individual capacities,

Defendants.

1. Plaintiffs are parents of children who have been excluded from their
school by reason of a series of shifting orders promulgated by the defendants,
Rockland County Department of Health, by and through its Commissioner,
defendant Ruppert. Plaintiffs seek injunctive relief and compensatory damages

against defendants for the violation of their constitutional rights.

 
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I. PARTIES

2. Each plaintiff - M.A., on behalf of his minor children, H.R. and M.; M.C, on
behalf of her minor child, R.J.; W.D., on behalf of his minor children, A. & J.;
N.D., on behalf of her miner children, L., M. & P.; J. and E. E. on behalf
of their minor children, A. & S.; J.J., on behalf of her minor child, R.; L.V.G.,
on behalf of his four minor children; P.J., on behalf of his minor child, A.,
D. and R. J., on behalf of their minor children, 8S. & O.; K.K., on behalf of her
minor children M. & G.; L.K., on behalf of his minor child, L.; M.K. on behalf of
his minor child, A.; V.L., on behalf of her two minor children; V.M. and A.M. on
behalf of their minor child, L.; T. and M.M., on behalf of their minor children
Y.,N. &S.; K.M.M. and W.M., on behalf of their minor children, 8., K. and L.;
K.M., on behalf of her minor children; J.O., on behalf of her minor child, T.;
M.P.,on behalf of his minor children, Tr. and Te.; L.P., on behalf of her minor
child, M.; M.R., on behalf of her minor children R. & E.; J.R., on behalf of her
minor child, C. and T.T., on behalf of his minor child, M. and Y.T., on behalf of
her minor child, Y. - resides in the County of Rockland or enrolled his/her/
their child in the Green Meadow Waldorf School or its Otto Specht sister school
[serving students with special needs] [collectively referred to hereinafter as
“GMWS’] which is located in the County of Rockland, within this judicial
district.

3. Defendants are the County of Rockland and its Commissioner of
Health, Patricia Schnabel Ruppert, DO. The defendants are situated within this

judicial district.

 
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Il. JURISDICTION
.4, As the challenged order violates plaintiffs’ federal constitutional rights
and is arbitrary, capricious and contrary to state law, this Honorable Court has
subject matter jurisdiction pursuant to 28 U.S.C. sections 1331, 1343 (3) & (4)
and 1367 and 42 U.S.C. sections 1983 and 1988.
I. STATEMENT OF FACTS
5. During the 2018-19 school year, plaintiffs’ minor children attended

GMWS in Chestnut Ridge, New York.

6. GMWS offers and implements an entirely unique pedagogy premised

on the teachings of Rudolph Steiner.

7. During the 2018-19 school year, GMWS educated approximately 300
children in grades nursery-12 at a single campus in Chestnut Ridge, New York

within this judicial district.
8. Waldorf schools exist throughout the world and the United States.

9. Amongst the distinct features of the schools are their small class
sizes, the assignment of a single main lesson teacher to a class between first
and eighth grades, the offering of a very broad curriculum which includes
substantial emphasis on the development of the whole child, as opposed to an

emphasis on rote learning verified by standardized testing.

10. Plaintiffs chose to enroll their children in GMWS because of its
distinct and unique educational philosophy and pedagogy and its respect for

their deeply held religious beliefs, including, their religiously-based opposition

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to vaccination for reasons set forth in the accompanying Affidavits of each

plaintiff.

11. Pursuant to the laws and regulations established by the State of New
York, each plaintiff applied for, and received, religiously-based exemptions from

vaccinations from GMWS.

12. Plaintiffs’ religious exemptions were effective during the 2018-19
school year and allowed plaintiffs’ minor children to attend school without

vaccinations, including the MMR vaccination.

13. At the commencement of the 2018-19 school year, approximately

half of the students attending GMWS were not vaccinated for measles.

14. During the months of September and October 2018, no measles case

was reported at the school or in the Threefold Community which surrounds it.

15. On October 18, 2018, after the reporting of several cases of measles
in Rockland County, defendants issued an order requiring unvaccinated
students to be excluded from any school in which a case of measles had been

reported. See Exhibit 1 to Satriano Affidavit.

16. The reported cases of measles were largely isolated to the Hasidic
population which lives in self-segregated areas in Rockland County, specifically

New Square and areas of Monsey/Spring Valley.

 
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17. Defendants supported this exclusion order by reference to Title 10,
section 66-2,.6 which authorizes exclusion of non-vaccinated students from,

and only from, an institution which experiences an outbreak of measles.

18. As no case of measles had been reported by that date, GMWS was
not within the reach or scope of this initial exclusion order and plaintiffs’

children continued to attend school.

19. At no time since October 18, 2018 has there been any reported case

of measles amongst students attending the GMWS or enrolled in GMWS.

20. On October 22, 2018, the New York State Department of Health sent
the GMWS a letter which reaffirmed, in relevant part, the defendants’ directive:
“For schools that DO NOT have positive measles case, the schools should NOT
exclude students who are unvaccinated |[i.e., those that have a valid religious or
medical exemption].” [emphases in original]. See Exhibit 2 to Satriano

Affidavit.

21. The State Department of Health further directed schools which
reported at least one case of measles to exclude unvaccinated students for 21

days “after the last date of exposure”. Id.

22. This language mirrored the substance of the County’s October 18,

2018 exclusion order.

 
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23. Between October 18 and December 3, 2018, there was no reported
case of measles amongst the students or families of students attending GMWS

or within the broader Threefold Community which is proximate to the school.

24. Plaintiffs’ children continued in attendance at GMWS between

October 18 and December 7, 2018 and none contracted measles.

25. Regardless of this fact and the language of the operative regulation,
on December 3, 2018, defendants extended the exclusion order to GMWS on
the ground that the school is located “near a confirmed case within the
community and ha[s] a low overall vaccination rate, which is an indicator that
there is a large number of students/children at risk for contracting measles.”

See Exhibit 3 to Satriano Affidavit.

26. The same letter states, “In an effort to minimize exclusions, while
simultaneously controlling the outbreak, exclusions in this category are being
made in schools and day cares with the lowest vaccination rates. Schools and
day cares that are currently subject to exclusion requirements in this category
will remain subject to such requirements for 21 days from the date your school

or day care exclusions were required to be begin [sic].” Id.

27. The same letter commanded GMWS to exclude unvaccinated
children “until 21 days after the last case of measles is identified with in your

school...or in close geographic proximity to your school...” Id.

28, Upon inquiry by GMWS staff, defendants defined “close proximity”

as within the same zip code, an area exceeding 11 square miles.

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29. In short, students were to be excluded from GMWS even though
there was no reported case of measles in the school or the broader Waldorf
community and even though the referenced zip code encompassed a very large
area, inclusive, 11 square miles, and included of insular populations [with
some incidence of measles] with which students attending GMWS had, and

were likely to have, no contact.

30. Further, other than excluding children from school, defendants
made no effort to limit or restrict the movement of those with or likely directly

exposed to measles.

31. Defendants imposed no travel restriction or quarantine directed

towards those with measles or those living with them.

32. On or about December 3, 2018, defendants’ agents advised GMWS
that, if the school attained an immunization rate of 80%, they would vacate the

exclusion order and allow it to re-admit all students.

33. Defendant’s agents never put this in writing, but repeated it during

several conversations with Maureen Satriano, R.N., GMWS’s nurse.

34. On December 7, 2018, the GMWS complied with the defendant’s

edict and excluded all non-vaccinated children from its pre-k-12 school.

35. On behalf of the GMWS, on December 10, 2018, Eric Silber, the

Executive Director of the Threefold Community which operates the school,

 
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propounded numerous questions to defendants. See Exhibit 4 to Satriano

Affidavit.
36. Defendants never responded to these inquiries.

37, On December 21, 2018, weeks after the exclusion order was initially
applied to the GMWS, defendant Ruppert altered that order, advising GMWS
that, “the School Exclusion order will be lifted when your school reaches an
immunization rate for MMR vaccine of 95%.” See Exhibit 5 to Satriano

Affidavit.

38. In the same letter, defendant Ruppert wrote, “I appreciate your
continued cooperation as ] remain committed to raise immunization rates in

Rockland County.” Id.

39, An immunization rate of 95% is wholly incompatible with the
number of families attending GMWS with bona fide religious exemptions to
immunization and, its implementation effectively excluded large numbers of
children from continuing with their educations at GMWS regardless of the fact
that the school’s enrollees had experienced not a single instance of measles

during the 2018-19 school year.

40. In light of the dearth of other proximate Waldorf schools, such an
exclusion order effectively and substantially limited the educational choices
available for plaintiffs committed to educating their children at a Waldorf

school.

 
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41. Following the December 21, 2018 letter, cases of measles continued

to be reported within isolated areas of the GMWS’s zip code.
42, No case was reported amongst a GMWS enrollee or employee.

43. On February 7, 2019, defendants advised GMWS that it could not
re-admit excluded, non-vaccinated studénts until 42 days after the last

reported case of measles in the county.

44. With this edict, defendants abandoned the “zip code” as a frame of

reference and substantially extended the exclusion order.

45. By dint of this latest order and the fact that as late as February 25,
2019, a new case of measles was reported within Rockland County, without
court intervention, plaintiffs’ children shall remain excluded through at least
April 8, 2019 and perhaps longer depending on factors totally outside of their

control.

46. Assuming the efficacy of the MMR vaccination, excluding non-
vaccinated children from GMWS is not necessary to protect vaccinated

classmates.

47. Each plaintiff has agreed to accept the “risk” of their child
contracting measles through school attendance at a school which has no

reported case of measles.

48. Defendants never quarantined those who have been exposed to

measles or have measles and such persons may walk on streets, attend movies,

 
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go to supermarkets or otherwise have contact with the general population,

allowing the transmission of the disease.

49. Defendants’ express motivation is to exert their power and control
over those who have chosen not to vaccinate and to increase vaccination rates
in Rockland County, eviscerating the religious exemption guaranteed by state
law for those like plaintiffs who have demonstrated sincerely held religious

beliefs and obtained religious exemptions from vaccination.

50. Without any form of due process, defendants’ orders summarily
excluded from GMWS numerous children whose parents, plaintiffs herein and
otherws similarly-situated, who had sought and attained from the school a

bona fide religiously-based exemption from the use of vaccinations.

o1. The exclusion order has caused and continues to cause irreparable
harm to plaintiffs, their children and others similarly-situated persons,
including, in the following ways: [a] plaintiffs’ children’s education and social
relationships have been substantially disrupted; [b] plaintiffs’ intimate,
constitutionally protected life choices, including the right to exercise their
bona fide religious beliefs and their right to choose a private school which
reflects their values and beliefs, have been trammeled; [c] the patterns of daily
life which plaintiffs chose and implemented, including their work and child
care schedules, have been substantially disrupted, often with significant
psychological and financial costs and [d] plaintiffs have been left with

substantial uncertainty due to the shifting nature of defendants’ edicts and

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when, if ever, they shall be permitted to return their children to the school of

their choice.

92. The perpetuation of each of these negative effects has caused, and
continues to cause, irreparable harm for plaintiffs in that their children are
excluded from school with no viable alternative and the consequent personal
injuries are not susceptible to pecuniary valuation or recompense. Nor can
money alone compensate plaintiffs for the days, weeks and months their

children have been deprived of a Waldorf education.

53. The exclusion order is overbroad in that it exceeds the regulatory

authority reposed in defendants.

54. The exclusion order is irrational in that the use of the “zip code” as a
proxy for an area of contagion had no medical or scientific basis and works an
overbroad imposition upon plaintiffs and their children and the current use of

the county as a reference is even less supportable and more irrational.

99. That the exclusion order is irrational is best demonstrated by its
deviation from prior orders: a 42-day exclusion is twice that defendants initially

implemented and lacks scientific or medical justification.
AS AND FOR A FIRST CAUSE OF ACTION
26. Plaintiffs incorporate paras. 1-55, as if fully restated herein.

57. The existing exclusion order unconstitutionally compels plaintiffs to

either forego their sincerely-held religious beliefs or lose their constitutional

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right to place their children in a private school which reflects their values and
parental beliefs as to the appropriate education for their children and in so
doing violates the Fourteenth Amendment make actionable by and through 42

U.S.C. section 1983.
AS FOR A SECOND CAUSE OF ACTION
38. Plaintiffs incorporate paras. 1-57, as if fully restated herein.

59. Defendant’s exclusion order violates plaintiffs’ right to due process
as it summarily extinguished their state-law based religious exemption, a
valuable property right created by state law, without affording any exception or

any process by which plaintiffs could re-establish the vitality of that exemption.
AS AND FOR A THIRD CAUSE OF ACTION
60. Plaintiffs incorporate paras. 1-59, as if fully restated herein.

63. Defendants’ latest and now operative exclusion order is arbitrary,
capricious and contrary to law and exceeds the authority of defendants to

impose and is without medical or scientific basis.

v. PRAYER FOR RELIEF

 

WHEREFORE, plaintiffs pray that this Honorable Court accept
jurisdiction over this matter, including the state cause of action; issue a
temporary restraining order against defendants staying the force and effect of
their exclusion order and permitting GMWS to re-admit their children without
adverse legal consequence to them or to GMWS; issue a preliminary injunction

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further staying the force and effect of defendants’ exclusion order and
permitting GMWS to re-admit their children without adverse legal consequence
to them or to GMWS; permanently enjoin the defendants from issuing
exclusion orders exceeding their legal authority and without medical/ scientific
bases, award to plaintiff compensatory damages for the injuries defendants
have caused them and their children and providing other and further relief as

it deems to serve the interests of law and equity, including attorneys’ fees and

Respectfully briiitted,
MICHAEL H. SUSSMAN [3497]

costs to plaintiffs.

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